                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MISSOURI
                                  KANSAS CITY, MISSOURI

DENVER LANE PARRISH                           )
                                              )
                       Plaintiff,             )
                                              )
v.                                            ) Case No. 4:19-CV-00090-SRB
                                              )
DEAN WORD COMPANY LTD, et al.                 )
                                              )
                       Defendants.            )

          JOINT PROPOSED SCHEDULING ORDER AND DISCOVERY PLAN

     Plaintiff Denver Lane Parrish, by and through their counsel of record, submit the following

Joint Proposed Scheduling Order and Discovery Plan pursuant to the Court’s Order.

     1. Pursuant to Fed. R. Civ. P. 25(f) and Local Rules 16.1(d), 16.1(f) and 26.1(d), a meeting

        was held by telephone and was attended by:

            i. James Walker, counsel for Plaintiff

            ii. Bridgette Fu, Counsel for Defendants.

     2. Pending Motions: Defendants’ Motion to Dismiss and Defendants’ Amended Motion to

        Transfer.

     3. Proposed Scheduling Order: Pursuant to Local Rules 16.1(d) and (f), the parties propose

        that the following Scheduling Order be entered in this matter:

            i. The parties agree that any Motion for Leave to Join Additional Parties shall be

                filed by June 10, 2019;

            ii. The parties agree that any Motion for Leave to Amend the Pleadings shall be filed

                by June 10, 2019;
      iii. The parties agree that Plaintiff shall designate any expert witnesses on or before

          June 10, 2019;

      iv. The parties agree that Plaintiff shall produce experts for deposition by July 25,

          2019;

      v. The parties agree that Defendants shall designate any expert witnesses on or

          before August 26, 2019;

      vi. The parties agree that Defendants shall produce experts for deposition by October

          10, 2019;

      vii. The parties agree that all discovery pertaining to this case shall be completed by

          November 7, 2019;

      viii.       The parties agree that any dispositive motions shall be filed by December

          10, 2019.

4. Discovery Plan:

      i. The parties agree to exchange initial disclosures to pursuant to Fed. R. Civ. P.

          16(1) on or before May 10, 2019;

      ii. The parties agree to limitations on discovery set forth in the Federal Rules of Civil

          Procedure.

      iii. Discovery will be sought on the following subjects:

                  i.       The basis of Plaintiff’s claims set forth in the pleadings and the;

                  ii.      Defendants’ defenses to Plaintiff’s claims; and

                  iii.     The nature and extend of Plaintiff’s alleged damages
   5. Trial: The parties agree that, at this time, a jury trial of Plaintiff’s claims is expected to

       take approximately 5 days. The parties expect to be prepared for trial commending on

       April 20, 2020.

   6. Other Orders: The parties do not anticipate the need for a protective order in this matter.




                                                      Respectfully submitted,

                                                      /s/ James D. Walker, Jr.
                                                      James Dean Walker Law, LLC              #29778
                                                      1656 Washington St., Suite 130
                                                      Kansas City, Mo. 64108
                                                      (816) 474-8128
                                                      (816) 474-7411 Facsimile
                                                      jwalker@jamesdwalkerlaw.com
                                                      Attorney for Plaintiff

                                                      and

                                                      /s/ Bridgette N. Fu
                                                      Michael C. Bowgren                      #57450
                                                      Bridgette N. Fu                         #65910
                                                      BRINKER & DOYEN, LLP
                                                      34 North Meramec, 5th Floor
                                                      St. Louis, MO 63105
                                                      314-863-6311
                                                      314-863-8197 – Facsimile
                                                      mbowgren@brinkerdoyen.com
                                                      bfu@brinkerdoyen.com
                                                      Attorneys for Defendants


                                  CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing was filed with the
Court’s electronic filing system, with notice of case activity to be generated and sent
electronically by the Clerk of said Court on this 2nd day of April 2019, to all parties of record.

                                                              /s/James D. Walker, Jr.
                                                              Attorney Plaintiff
